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AO 91 (Rev. 08/09) Criminal Complaint



                                    UNITED STATES DISTRICT COURT                                                     FILED
                                                             for the                                       September 07, 2022
                                                   Western District of Texas                               CLERK, U.S. DISTRICT COURT
                                                        Pecos Division                                     WESTERN DISTRICT OF TEXAS
                 United States of America                       )                                                    M. Ramirez
                                                                                                       BY: ________________________________
                               V.                               )                                                              DEPUTY

                 Albino Chavez-Cuellar                          )      Case No. 4:22-MJ-915
                                                                )
                                                                )
                                                                )
                           Defendant(s)


                                                  CRIMINAL COMPLAINT

        I, the complainant in this case, state that the following is true to the best of mv knowledge and belief.
On or about the date(s) of September 2, 2022                          in the county of _P_eco_ _ s_______ in the
     WESTERN DISTRICT OF TEXAS                              , the defendant(s) violated:
            Code Section                                                 Offense Description

   8 USC 1324(a)(l)(A) {ii) & (a)                 Transporting Illegal Aliens for Financial Gain
   (l)(B){i)




   8 USC 1324 (a)(l)(A)(v)(I)                     Conspiracy to Commit Alien Smuggling




        This criminal complaint is based on these facts:

        I { I continued on the attached sheet.

                                                                                      Martin Salisbury Jr.
                                                                                           Printed name and title
          Complaint sworn to telephonlcally and
            electronically signed on this date,
                FED.R.CRIM.P. 4.1 (b)(2)(A)
                                                                                .,
Date:              09/07/2022
                                                                                                Judge 's signature
                                                                                Honorable Judge Ronald C. Griffin
                          e, Te
                 A_lp i nTexas
City and state: Pecos,
                     _ _ ___ _ _                                                      United States Magistrate Judge
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approximately 3 blocks before pulling over. The initiation of the vehicle stop took place within
Fort Stockton, Texas.

5. Once the vehicle came to a complete stop, BPA Vega approached the SUV on foot and
identified himself as a United States Border Patrol agent to the driver and four passengers. BPA
Vega questioned the driver, later identified as Albino Chavez-Cuellar as to his citizenship. BPA
Vega determined that Chavez-Cuellar is an illegal alien from Mexico. BPA Vega then turned his
attention to the 4 passengers and determined that they were also illegal aliens and were all
citizens and nationals of Mexico. BPA Vega then read all 5 individuals their Miranda rights and
placed all 5 under arrest. All individuals, including Chavez-Cuellar were transported to the Fort
Stockton Border Patrol Station for further investigation.

6. Chavez-Cuellar was then transferred to the Central Processing Center at the Alpine Border
Patrol Station for routine processing. While at the Alpine Border Patrol Station, Chavez-Cuellar
was again read his Miranda rights and provided Service Form 1-214. Chavez-Cuellar indicated
that he both understood and waived his right to have legal counsel present prior to questioning.
During a post-Miranda interview, Chavez-Cuellar admitted that he had travelled from California
to the west Texas area to pick up a friend who he knew to be an illegal alien. Chavez-Cuellar
claimed that his friend had gotten lost and was not around when he arrived to pick him up.
Chavez-Cuellar admitted that he picked up and transported the remaining 4 illegal aliens instead.
Chavez-Cuellar admitted that he knew the group he had been caught transporting were in fact
illegal aliens. Chavez-Cuellar also admitted that the group had travelled with Chavez-Cuellar's
friend on foot during the group's illegal entry. Chavez-Cuellar stated that he was going to
transport the group of illegal aliens back to Paso Robles, California. Although he denied getting
paid for transporting his friend, Chavez-Cuellar admitted he was going to receive financial
compensation for the cost of driving to Texas and driving back to California with his passengers.

7. During a post-Miranda interview, one of the passengers travelling with Chavez-Cuellar stated
that Chavez-Cuellar's unidentified friend had served as the group's foot guide. This unidentified
co-conspirator guided the group to the highway before walking south in order to return to
Mexico. The interviewed passenger stated that the unidentified foot guide communicated and
coordinated with an individual he believed to be the load driver in order to pick up the group off
the side of the highway.

Chavez-Cuellar was encountered and arrested in Pecos County, which is within the Western
District of Texas.



Martin Salisbury Jr.
Border Patrol Agent



Ronald C. Griffin
United States Magistrate Judge
